United States District Court

For the Northem District of California

Oo co HN A vA & WH HNO —

NO NO HNO HNO NO PO YN WH NO = 6&2 = = ee SES Se OO Sell eh
ont KON TH PP WH NY SK lc OlCUCCOClUlUOWUlUNlCUCONClUCUM UPON CO

 

EN

Case 3:10-cv-03561-WHA Document 72 Filed 01/13/11 Page 1of1

ORACLE AMERICA, INC., CASE NO, 3:10-cv-03561 WHA

 

Plaintiff, (Proposed)
ORDER GRANTING APPLICATION
v. FOR ADMISSION OF ATTORNEY
GOOGLE INC., PRO HAC VICE
Defendant.
/
Christopher C. Carnaval , whose business address and telephone number is

King & Spalding LLP, 1185 Avenue of the Americas, New York, New York 10036 and (212)
556-2154

and who is an active member in good standing of the bar of U.S.D.C. for the S.D.N.Y.

having applied in the above-entitled action for admission to practice in the Northern District of
California on a pro hac vice basis, representing GOOGLE INC.

IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
vice. Service of papers upon and communication with co-counsel designated in the application
will constitute notice to the party. All future filings in this action are subject to the requirements

contained in General Order No. 45, Electronic Case Filing.

Dated:

 

The Honorable William Alsup
United States District Judge

 

 
